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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


   JUDIANNE BISCEGLIE.                    CASE NO.: 2:21-CV-04752-WJM-MF

                PLAINTIFF,

   VS.

   THE PRUDENTIAL INSURANCE COMPANY OF AMERICA,

              DEFENDANTS.
   __________________________________________________________

          JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

         The parties, through their counsel, and pursuant to Fed. R. Civ. P.

   41(a)(1)(A)(ii), hereby stipulate to a dismissal with prejudice of this action,

   including all claims against all parties, with each party to bear its own attorney

   fees and costs.


         DATED: January 28, 2022
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   /s/ Claudeth J. Henry                        /s/ Alnisa Bell

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